IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
v. * Criminal No.: DLB-21-399
ROY C. MCGRATH *
Defendant.
* * X* * # * * *

DEFENDANT’S MOTION IN LIMINE - DISCLOSURE OF 404(b) EVIDENCE
Now comes the defendant, Roy C. McGrath, and pursuant to Rule 404(b)(3)(A),
moves in limine that the government provide reasonable notice of any Rule 404(b) evidence
that the government intends to offer at trial so that the defendant has a fair opportunity to meet it.
Respectfully submitted,
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Joseph Murtha
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Counsel for the Defendant
Roy C. McGrath
CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 23rd day of September, 2022, a copy of the
foregoing Defendant’s Motion in Limine - Disclosure of 404(b) Evidence was filed in CM?ECF
thereby serving counsel in this matter from the Office of the United States Attorney for the

District of Maryland, 36 S. Charles Street, Suite 400, Baltimore, Maryland 21201.

-S-
Joseph Murtha
